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                 MEMORANDUM IN SUPPORT OF MOTION

      Plaintiffs NATIONAL ASSOCIATION FOR GUN RIGHTS (“NAGR”),

RONDELLE AYAU, and JEFFREY BRYANT (collectively, “Plaintiffs”), bring

this pre-enforcement challenge to the constitutionality of Hawaii’s restrictions on

semiautomatic firearms with certain accessories and configurations—statutorily

defined as “assault pistols”—and certain large-capacity magazines. See Hawaiʻi

Revised Statutes (“HRS”) § 134-8. Plaintiffs plan to file a motion for a

preliminary injunction, see ECF No. 13 at PageID 55, but there are two major

jurisdictional defects with Plaintiffs’ Complaint that preclude consideration of the

merits: Plaintiffs’ failure to establish (1) standing and (2) ripeness under Article

III. See Temple v. Abercrombie, 903 F. Supp. 2d 1024, 1030 (D. Haw. 2012)

(“The court must first determine whether it has subject-matter jurisdiction.”).

      Article III “limits the jurisdiction of federal courts to ‘cases’ and

‘controversies[,]’” and the Ninth Circuit has “repeatedly admonished . . . that the

mere existence of a statute, which may or may not ever be applied to plaintiffs, is

not sufficient to create a case or controversy within the meaning of Article III.”

San Diego Cnty. Gun Rts. Comm. v. Reno, 98 F.3d 1121, 1126 (9th Cir. 1996)

(internal quotation marks, citation, and brackets omitted). Rather, “a plaintiff must

demonstrate a genuine threat that the allegedly unconstitutional law is about to be

enforced against him.” Stoianoff v. State of Mont., 695 F.2d 1214, 1223 (9th Cir.


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1983). Tested against the Ninth Circuit’s standard for pre-enforcement challenges

to criminal statutes, it is clear that the Complaint fails to allege facts establishing “a

genuine threat of imminent prosecution,” and fails to demonstrate an injury that is

“actual or imminent” and “concrete and particularized,” as required. San Diego

Cnty. Gun Rts., 98 F.3d at 1126 (emphases in original) (internal quotation marks

omitted). As a result, Plaintiffs fail to establish either an injury-in-fact for standing

purposes or ripeness under Article III.

      Plaintiffs also fail to establish redressability, another basis for dismissal on

Article III standing grounds. Absent any clear allegation that Plaintiffs are

permitted to own or possess a firearm under federal and state law, one cannot fairly

conclude that the relief Plaintiffs seek would redress their alleged injury. On the

record Plaintiffs have developed, redressability is far too speculative to confer

standing. See Novak v. United States, 795 F.3d 1012, 1019 (9th Cir. 2015).

      Because Plaintiffs have established neither standing nor ripeness, dismissal

is warranted.

                                   BACKGROUND

      Plaintiffs bring a pre-enforcement challenge to certain portions of HRS §

134-8. ECF No. 1 (“Complaint”) at ¶ 10. First, Plaintiffs challenge HRS § 134-

8(a)’s prohibition on the “manufacture, possession, sale, barter, trade, gift, transfer,




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or acquisition of . . . assault pistols[.]” 1 Plaintiffs allege that “[t]he term ‘assault

pistol’ . . . is a rhetorically charged political term meant to stir the emotions of the

public[,]” Complaint at ¶ 11, but the term is defined in HRS § 134-1 as follows:

        “Assault pistol” means a semiautomatic pistol that accepts a
        detachable magazine and has two or more of the following
        characteristics:

        (1) An ammunition magazine that attaches to the pistol outside of the
        pistol grip;
        (2) A threaded barrel capable of accepting a barrel extender, flash
        suppressor, forward hand grip, or silencer;
        (3) A shroud that is attached to or partially or completely encircles the
        barrel and permits the shooter to hold the firearm with the second
        hand without being burned;
        (4) A manufactured weight of fifty ounces or more when the pistol is
        unloaded;
        (5) A centerfire pistol with an overall length of twelve inches or more;
        or
        (6) It is a semiautomatic version of an automatic firearm;

        but does not include a firearm with a barrel sixteen or more inches in
        length, an antique pistol as defined in this section, or a curio or relic as


1
    HRS § 134-8(a)’s prohibition is subject to HRS § 134-4(e), which provides:

        After July 1, 1992, no person shall bring or cause to be brought into
        the State an assault pistol. No assault pistol may be sold or transferred
        on or after July 1, 1992, to anyone within the State other than to a
        dealer licensed under section 134-32 or the chief of police of any
        county except that any person who obtains title by bequest or intestate
        succession to an assault pistol registered within the State shall, within
        ninety days, render the weapon permanently inoperable, sell or
        transfer the weapon to a licensed dealer or the chief of police of any
        county, or remove the weapon from the State.

No allegations regarding HRS § 134-4(e) appear in the Complaint.

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      those terms are used in 18 United States Code section 921(a)(13) or
      27 Code of Federal Regulations section 478.11.

Violation of HRS § 134-8(a) is a class C felony. See HRS § 134-8(d).

      Second, Plaintiffs challenge HRS § 134-8(c)’s prohibition on “[t]he

manufacture, possession, sale, barter, trade, gift, transfer, or acquisition of

detachable ammunition magazines with a capacity in excess of ten rounds which

are designed for or capable of use with a pistol[.]”2 Violation of HRS § 134-8(c) is

a “misdemeanor except when a detachable magazine prohibited under this section

is possessed while inserted into a pistol in which case the person shall be guilty of

a class C felony.” HRS § 134-8(d).

       Plaintiff NAGR is a “membership and donor-supported organization” that

“seeks to defend the right of all law-abiding individuals to keep and

bear arms.” Complaint at ¶ 1. Plaintiff NAGR alleges that it “represents the

interests of its members who reside in the State [of Hawaiʻi,]” and “[b]ut for the

State’s unlawful prohibition of commonly used arms and their reasonable fear of

prosecution for violating these prohibitions, NAGR members would seek to

acquire, keep, possess and/or transfer lawful arms [sic] for self-defense and other




2
  The prohibition does not apply “to magazines originally designed to accept more
than ten rounds of ammunition which have been modified to accept no more than
ten rounds and which are not capable of being readily restored to a capacity of
more than ten rounds.” HRS § 134-8(c).

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lawful purposes.” Id. Plaintiff NAGR appears in this lawsuit “in its capacity as a

representative of its members.” Id.

      Plaintiffs Rondelle Ayau and Jeffrey Bryant are Hawaiʻi residents and “law-

abiding citizens of the United States.” Id. at ¶ 2. They allege that “[b]ut for the

State’s unlawful prohibition of commonly used arms and their reasonable fear of

prosecution for violating these prohibitions, [they] would seek to acquire, keep,

possess and/or transfer lawful arms [sic] for self-defense and other lawful

purposes.” Id.

      The Complaint includes one claim for relief against the Attorney General

asserting that the portions of HRS § 134-8 regarding assault pistols and certain

large-capacity magazines “infringe on the right of the people of the State, including

Plaintiffs, to keep and bear arms as guaranteed by the Second Amendment and

made applicable to the states and its political subdivisions by the Fourteenth

Amendment.” Id. at ¶ 31. Among other things, Plaintiffs ask that the Court:

      34. Enter a declaratory judgment pursuant to 28 U.S.C. § 2201 that
      the Law sections identified herein are unconstitutional on their face or
      as applied to the extent their prohibitions apply to law-abiding adults
      seeking to acquire, use, transfer, or possess arms that are in common
      use by the American public for lawful purposes;
      35. Enter preliminary and permanent injunctive relief enjoining
      Defendant and its officers, agents, and employees from enforcing the
      unconstitutional Code sections identified above[.]

Id. at ¶¶ 34-35.




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                                      STANDARD

       Article III “limits the jurisdiction of federal courts to ‘cases’ and

 ‘controversies.’” San Diego Cnty. Gun Rts., 98 F.3d at 1126. “No case or

 controversy exists if a plaintiff lacks standing or if a case is not ripe for

 adjudication[.]” Temple, 903 F. Supp. 2d at 1030. Standing and ripeness are

 “threshold” matters that must be established for a court to exercise subject-matter

 jurisdiction. Thomas v. Anchorage Equal Rts. Comm’n, 220 F.3d 1134, 1138 (9th

 Cir. 2000); Borja v. Nago, Civ. No. 20-00433 JAO-RT, 2021 WL 4005990, at *3

 (D. Haw. Sept. 2, 2021).

       “[I]t is plaintiff’s burden to establish subject matter jurisdiction.” Zentmyer

 v. United States, No. 3:20-cv-02240-JAH-NLS, 2022 WL 959806, at *1 (S.D. Cal.

 Mar. 30, 2022), and “[f]ederal courts are presumed to lack jurisdiction, unless the

 contrary appears affirmatively from the record,” San Diego Cnty. Gun Rts., 98 F.3d

 at 1126 (quoting Casey v. Lewis, 4 F.3d 1516, 1519 (9th Cir. 1993)) (internal

 quotation marks omitted). “Under [FRCP] 12(b)(1), a district court must dismiss a

 complaint if it lacks subject matter jurisdiction to hear the claims alleged in the

 complaint.” Borja, 2021 WL 4005990, at *3; see also Zentmyer, 2022 WL

 959806, at *1 (“Dismissal for lack of subject matter jurisdiction is appropriate if

 the complaint, considered in its entirety, on its face fails to allege facts sufficient to




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 establish subject matter jurisdiction.” (quoting In re Dynamic Random Access

 Memory (DRAM) Antitrust Litig., 546 F.3d 981, 984-85 (9th Cir. 2008))).

 I.    Article III Standing

       To establish Article III standing, “a plaintiff must have (1) suffered an injury

 in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and

 (3) that is likely to be redressed by a favorable judicial decision.” Borja, 2021 WL

 4005990, at *3 (internal quotation marks and citation omitted). “At the pleading

 stage of a case, the plaintiff must clearly allege facts demonstrating each element”

 required for standing. Id. (internal quotation marks, citation, and alteration

 omitted).

       The injury-in-fact prong of the standing inquiry requires that a plaintiff

 demonstrate an injury “to a legally protected interest that is both ‘concrete and

 particularized’ and ‘actual or imminent,’ as opposed to ‘conjectural’ or

 ‘hypothetical.’” San Diego Cnty. Gun Rts., 98 F.3d at 1126 (some internal

 quotation marks omitted). “Allegations of possible future injury are insufficient”;

 if a plaintiff is relying on a threatened injury, “the ‘threatened injury must be

 certainly impending to constitute injury in fact.’” Borja, 2021 WL 4005990, at *4

 (emphasis in original) (quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409

 (2013)). Additionally, where “plaintiffs seek declaratory and injunctive relief only,




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 there is a further requirement that they show a very significant possibility of future

 harm[.]” San Diego Cnty. Gun Rts., 98 F.3d at 1126.

       The redressability prong of the standing analysis “requires that it be likely,

 as opposed to merely speculative, that the injury will be redressed by a favorable

 decision.” Novak, 795 F.3d at 1019 (internal quotation marks and citation

 omitted). “Although plaintiffs need not demonstrate that there is a guarantee that

 their injuries will be redressed by a favorable decision . . . they do need to show

 that there would be a change in a legal status as a consequence of a favorable

 decision[.]” Id. (internal quotation marks, brackets, and citations omitted). Absent

 redressability, “exercise of its power by a federal court would be gratuitous and

 thus inconsistent with the Art. III limitation.” Simon v. E. Ky. Welfare Rts. Org.,

 426 U.S. 26, 38 (1976).

 II.   Article III Ripeness

       A plaintiff also bears the burden of establishing that his or her claims are

 ripe. “Ripeness is an Article III doctrine designed to ensure that courts adjudicate

 live cases or controversies and do not issue advisory opinions or declare rights in

 hypothetical cases.” Bishop Paiute Tribe v. Inyo Cnty., 863 F.3d 1144, 1153 (9th

 Cir. 2017) (internal quotation marks, citation, and brackets omitted); see also

 Thomas, 220 F.3d at 1138 (ripeness is “designed to prevent the courts, through




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 avoidance of premature adjudication, from entangling themselves in abstract

 disagreements” (internal quotation marks and citation omitted)).

       Although “an individual need not await prosecution under a law or

 regulation before challenging it,” to bring a pre-enforcement challenge, the Ninth

 Circuit requires “a genuine threat of imminent prosecution and not merely an

 imaginary or speculative fear of prosecution” to establish ripeness. Sacks v. Off. of

 Foreign Assets Control, 466 F.3d 764, 772-73 (9th Cir. 2006) (internal quotation

 marks and citations omitted). Under Ninth Circuit law, in considering whether a

 plaintiff’s pre-enforcement challenge is constitutionally ripe, courts must consider:

       (1) whether the plaintiffs have articulated a concrete plan to violate
       the law in question, (2) whether the prosecuting authorities have
       communicated a specific warning or threat to initiate proceedings, and
       (3) the history of past prosecution or enforcement under the
       challenged statute.

 Alaska Right to Life Pol. Action Comm. v. Feldman, 504 F.3d 840, 849 (9th Cir.

 2007). “A plaintiff must establish all three elements in its favor in order to survive

 a motion to dismiss on ripeness grounds.” Ass’n of Am. R.R. v. Cal. Off. of Spill

 Prevention & Response, 113 F. Supp. 3d 1052, 1058 (E.D. Cal. 2015) (citing

 Sacks, 466 F.3d at 773).

       “[N]either the mere existence of a proscriptive statute nor a generalized

 threat of prosecution satisfies the ‘case or controversy’ requirement.” Thomas, 220

 F.3d at 1139. “[T]he Ninth Circuit has routinely rejected arguments claiming that


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 the mere existence of a statute creates an injury.” Zentmyer, 2022 WL 959806, at

 *3.

       “The constitutional component of the ripeness inquiry . . . in many cases . . .

 coincides squarely with standing’s injury in fact prong.” Thomas, 220 F.3d at

 1138; see also Feldman, 504 F.3d at 849 n.9 (“The constitutional component of

 ripeness often overlaps with the injury-in-fact prong of Article III standing.”).

 “Whether framed as an issue of standing or ripeness, the inquiry is largely the

 same: whether the issues presented are definite and concrete, not hypothetical or

 abstract.” Wolfson v. Brammer, 616 F.3d 1045, 1058 (9th Cir. 2010) (internal

 quotation marks and citation omitted); see also Sacks, 466 F.3d at 773 (“The

 requirement that a fear of prosecution be fairly certain to confer standing on the

 plaintiff is informed by the same considerations as the doctrine of ripeness. . . .

 Therefore, we employ the same test to determine if a plaintiff has established

 standing based on a fear of prosecution that we use to determine if a case or

 controversy is sufficiently ripe[,]” i.e., “whether the plaintiffs have articulated a

 ‘concrete plan’ to violate the law in question, whether the prosecuting authorities

 have communicated a specific warning or threat to initiate proceedings, and the

 history of past prosecution or enforcement under the challenged statute.”).




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                                     ARGUMENT

       Although “an individual need not await prosecution under a law or

 regulation before challenging it,” Sacks, 466 F.3d at 772, the Ninth Circuit is

 specific about what a plaintiff must show to sustain a pre-enforcement challenge.

 Here, despite seeking extraordinary relief on a pre-enforcement basis—an

 injunction and declaratory judgment prohibiting the State of Hawaiʻi from

 enforcing a criminal statute—Plaintiffs fail to make the necessary showing. They

 fail to allege or establish: (1) a concrete plan to violate the law in question; (2) the

 communication of a specific warning or threat to initiate proceedings; and (3) a

 history of past prosecution or enforcement under the challenge statute. See

 Feldman, 504 F.3d at 849. Each is required under established Ninth Circuit

 precedent to bring a pre-enforcement challenge to a state criminal statute in federal

 court. See Spill Prevention, 113 F. Supp. 3d at 1058. The “mere possibility of

 criminal sanctions” is not enough. San Diego Cnty. Gun Rts., 98 F.3d at 1126

 (internal quotation marks and citation omitted). Yet even the most generous

 reading of Plaintiffs’ Complaint establishes only “the mere existence of a statute,

 which may or may not ever be applied to plaintiffs,” rather than a “genuine threat

 of imminent prosecution.” Id. at 1126 (emphases in original) (internal quotation

 marks, citation, and brackets omitted). Plaintiffs have therefore failed to establish




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 either an injury-in-fact for standing purposes or ripeness, and their Complaint must

 be dismissed. See Temple, 903 F. Supp. 2d at 1030.

       Plaintiffs also fail to establish redressability, another requirement for Article

 III standing, as to their claim regarding HRS § 134-8(a). Plaintiffs allege that they

 would like to “acquire, keep, bear and/or transfer” firearms “[b]anned” by HRS §

 134-8(a), Complaint at ¶ 13, but nowhere allege that they are permitted to own or

 possess a firearm under federal and state law, see 18 U.S.C. § 922(g); HRS § 134-

 7. Without any such allegation, redressability is speculative, at best, and

 insufficient in any event to confer standing.

 I.    Plaintiffs’ Claims Are Not Ripe and They Lack an Injury-in-Fact for
       Article III Standing.

       A.     Plaintiffs have not alleged or established a “concrete plan” to
              violate the provisions of HRS § 134-8 that they challenge.

       First, Plaintiffs fail to allege a concrete plan to violate HRS § 134-8. A

 “concrete plan requires more than a hypothetical intent to violate the law.” Spill

 Prevention, 113 F. Supp. 3d at 1058. In other words, “[a] general intent to violate

 a statute at some unknown date in the future does not rise to the level of an

 articulated, concrete plan.” Thomas, 220 F.3d at 1139.

       Here, Plaintiffs fail to present this Court with any “plan” whatsoever. See

 Zentmyer, 2022 WL 959806, at *4 (“Plaintiff alleges no such plan in the operative

 complaint. . . . [A]s the Government notes, Plaintiff ‘has alleged no plan (concrete



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 or otherwise) to obtain a firearm’ and ‘has not alleged any genuine or imminent

 threat of prosecution if he moved to Arizona and purchased a firearm.’”).

 Plaintiffs, in other words, fail to allege any intent to violate HRS § 134-8—whether

 “hypothetical” or “concrete.” All Plaintiffs allege on the topic is:

         • “But for the State’s unlawful prohibition of commonly used arms and
           their reasonable fear of prosecution for violating these prohibitions,
           NAGR members would seek to acquire, keep, possess and/or transfer
           lawful arms [sic] for self-defense and other lawful purposes.” Complaint
           at ¶ 1.

         • “But for the State’s unlawful prohibition of commonly used arms and
           their reasonable fear of prosecution for violating these prohibitions,
           Plaintiffs Rondelle Ayau and Jeffrey Bryant would seek to acquire, keep,
           possess and/or transfer lawful arms [sic] for self-defense and other lawful
           purposes.” Id. at ¶ 2.

         • “Plaintiffs and/or their members desire to acquire, keep, bear and/or
           transfer Banned Firearms.” Id. at ¶ 13.

 Nowhere do Plaintiffs allege or establish that they actually intend to violate HRS §

 134-8. At most, Plaintiffs allege a general “desire’ to engage in conduct prohibited

 by HRS § 134-8, but that fails to demonstrate “the high degree of immediacy that

 is necessary under these circumstances.” San Diego Cnty. Gun Rts., 98 F.3d at

 1129.

         The Ninth Circuit has already made clear that assertions of a “wish and

 inten[tion] to engage in activities prohibited by” a firearms regulation are too

 vague to establish a “concrete plan.” Id. at 1127 (internal quotation marks

 omitted); see also Spill Prevention, 113 F. Supp. 3d at 1058 (“The mere assertion

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 of a desire to engage in a prohibited activity, particularly when the acts necessary

 to make plaintiffs’ injury—prosecution under the challenged statute—materialize

 are almost entirely within plaintiffs’ own control is too indefinite to constitute a

 ‘concrete plan.’” (citation and some internal quotation marks omitted)). 3 To

 invoke this Court’s jurisdiction, a plaintiff must do more than allege general

 “wishes,” “desires,” or “some day intentions.” See San Diego Cnty. Gun Rts., 98

 F.3d at 1127 (“As the Supreme Court has observed, such ‘some day’ intentions—

 without any description of concrete plans, or indeed even any specification of when



 3
   Even if a “desire” to engage in prohibited conduct could potentially be sufficient
 to demonstrate a “concrete plan,” Plaintiffs’ allegation of their “desire” is far too
 vague. See Complaint at ¶ 13 (“Plaintiffs and/or their members desire to acquire,
 keep, bear and/or transfer Banned Firearms.”). To start, Plaintiffs fail to even
 specify which of the following they “desire” to do— “acquire, keep, bear and/or
 transfer”—indicative of their lack of any “concrete plan.” Plaintiffs also provide
 no detail as to what firearms with what characteristics they would “acquire, keep,
 bear and/or transfer,” so that Defendant and this Court can, among other things,
 evaluate whether Plaintiffs’ proposed conduct would even violate the statute. See
 supra at 2-4 (discussing HRS § 134-8 and the definition of “assault pistol” in HRS
 § 134-1); see also Unified Data Servs., LLC v. Fed. Trade Comm’n, 39 F.4th 1200,
 1210-11 (9th Cir. 2022) (“[T]he complaint utterly lacks, let alone states ‘with some
 degree of concrete detail,’ an allegation that Plaintiffs ‘intend to violate’ the Rule
 as interpreted by the 2016 letter. . . . The complaint fails to state to what extent
 Plaintiffs currently use soundboard technology, to what extent they use it in
 connection with charitable activity, and whether they plan to use it in the future.
 They have not, in short, provided any information about the ‘when, to whom,
 where, or under what circumstances’ they would use soundboard technology but
 for the challenged policies.”). The Complaint is also devoid of any allegations
 regarding a “desire” (even assuming that could be sufficient) as to large-capacity
 magazines barred by HRS § 134-8(c), despite the fact that Plaintiffs have
 challenged that provision.

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 the some day will be—do not support a finding of the ‘actual or imminent’ injury

 that our cases require.” (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 564

 (1992)) (brackets and internal quotation marks omitted)). Plaintiffs’ alleged

 “desires” and vague “but for” allegations fall far short of demonstrating a

 “concrete plan”—and that is fatal to their Complaint. See, e.g., Spill Prevention,

 113 F. Supp. 3d at 1058.

       B.     Plaintiffs have not alleged or established the existence of a specific
              warning or threat to initiate proceedings against them under HRS
              § 134-8.
       Second, Plaintiffs fail to allege or establish that they have been subject to

 any specific warning or threat to initiate criminal proceedings against them under

 HRS § 134-8. Because pre-enforcement review is limited to “circumstances that

 render the threatened enforcement sufficiently imminent[,]” Spill Prevention, 113

 F. Supp. 3d at 1059, “a general threat of prosecution is not enough” to confer

 standing or ripeness, Unified Data Servs., 39 F.4th at 1210; San Diego Cnty. Gun

 Rts., 98 F.3d at 1127.4 “[T]here must be a specific warning or threat of


 4
  The Ninth Circuit has provided the following examples of general threats of
 prosecution insufficient to invoke federal jurisdiction:

       See, e.g., Poe v. Ullman, 367 U.S. 497, 501, 81 S.Ct. 1752, 1754–55,
       6 L.Ed.2d 989 (1961) (plurality opinion) (mere allegation that state
       attorney intended to prosecute any offense against Connecticut law,
       including use of and advice concerning contraceptives held
       insufficient to confer standing); Western Mining Council, 643 F.2d at
       626 (Secretary’s statement that “plaintiffs cannot dig in the ground”

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 enforcement directed at Plaintiffs.” Spill Prevention, 113 F. Supp. 3d at 1059

 (emphases added); Stoianoff, 695 F.2d at 1223 (“[A] plaintiff must demonstrate a

 genuine threat that the allegedly unconstitutional law is about to be enforced

 against him.”).

       Here, Plaintiffs “do not identify even a general threat made against them.”

 San Diego Cnty. Gun Rts., 98 F.3d at 1127; see also Zentmyer, 2022 WL 959806,

 at *4 (“Plaintiff’s pleading in this action does not contain any clear allegation that

 prosecuting authorities have communicated a specific warning or threat to initiate

 proceedings. Though plaintiffs are required to show a ‘genuine threat of imminent

 prosecution’, Plaintiff’s instant complaint fails to make any relevant allegations

 regarding threats of enforcement.”). The Complaint alleges that “Defendant is or

 will enforce the unconstitutional provisions of the Law against Plaintiffs under

 color of state law within the meaning of 42 U.S.C. § 1983,” Complaint at ¶ 4, but

 (1) there are no allegations demonstrating that Plaintiffs are presently subject to

 any enforcement or prosecution under HRS § 134-8 (as already noted, Plaintiffs

 here bring a pre-enforcement challenge to the statute), and (2) the bare assertion


       not a sufficiently specific threat of prosecution); Rincon Band, 495
       F.2d at 4 (sheriff’s statement to tribal members that county ordinance
       prohibiting gambling would be enforced within his jurisdiction
       insufficient).

 San Diego Cnty. Gun Rts., 98 F.3d at 1127.


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 that Defendant “will” enforce the statute against them does not meet Plaintiffs’

 burden of showing a “specific warning or threat to initiate proceedings[.]” See

 Feldman, 504 F.3d at 849. 5

       Based on their allegations, Plaintiffs have “established at most a possibility

 of their eventual prosecution under [HRS § 134-8], which is clearly insufficient to

 establish a ‘case or controversy.’” San Diego Cnty. Gun Rts., 98 F.3d at 1128.

 Article III standing and ripeness require more than “[t]he mere possibility of

 criminal sanctions applying,” Zentmyer, 2022 WL 959806, at *4 (internal

 quotation marks and citation omitted), yet that is all Plaintiffs have offered here.

       C.     Plaintiffs have not alleged or established a history of past
              prosecution or enforcement under HRS § 134-8 sufficient to
              confer standing or ripeness.

       Third, Plaintiffs have failed to allege or establish a history of past

 prosecution or enforcement under HRS § 134-8. Plaintiffs simply fail to make any

 allegations relevant to this factor. As a result, “it can hardly be said on this record

 that there [i]s a history of prosecution under [HRS § 134-8].” Rincon Band of

 Mission Indians v. San Diego Cnty., 495 F.2d 1, 5 (9th Cir. 1974). Plaintiffs have

 “decline[d] to explain or discuss the past prosecution or enforcement of [HRS §




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  Nor does their similarly bare allegation that “[i]f not enjoined by this Court,
 Defendant will enforce the Law in derogation of Plaintiffs’ constitutional rights.”
 Complaint at ¶ 28.

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 134-8], though it is [their] burden to do so[.]” Zentmyer, 2022 WL 959806, at *5.

 This provides an additional, independent reason why dismissal is required.

        In sum, Plaintiffs’ Complaint fails to satisfy any of the three essential

 requirements for a pre-enforcement challenge in this Court: no concrete plan, no

 specific warning or threat to initiate proceedings directed at Plaintiffs, and no

 allegations establishing a history of past prosecution or enforcement under the

 statute. To demonstrate the existence of a justiciable claim, “[a] plaintiff must

 establish all three elements in its favor[.]” Spill Prevention, 113 F. Supp. 3d at

 1058 (citing Sacks, 466 F.3d at 773). Thus, “[w]hether viewed through the lens of

 standing or ripeness,” Sacks, 466 F.3d at 773, Plaintiffs’ challenge to HRS § 134-8

 is not justiciable.

 II.    Plaintiffs Fail To Establish Redressability for Article III Standing As to
        Their Challenge to HRS § 134-8(a).

        The redressability element of Article III standing also has not been satisfied

 with respect to Plaintiffs’ challenge to HRS § 134-8(a), providing an additional

 ground for dismissal of that claim. See Borja, 2021 WL 4005990, at *3 (“To

 establish standing to sue in federal court, a plaintiff must have (1) suffered an

 injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant,

 and (3) that is likely to be redressed by a favorable judicial decision.” (internal

 quotation marks and citation omitted)). Here, the allegations of the Complaint

 provide no basis to conclude that Plaintiffs’ alleged injury as to HRS § 134-8(a) is

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 likely to be redressed by a favorable judicial decision because Plaintiffs fail to

 clearly allege that they are permitted to own or possess a firearm under federal and

 state law. See 18 U.S.C. § 922(g); HRS § 134-7. If, for example, Plaintiffs have

 been convicted of “a felony, or any crime of violence, or an illegal sale of any

 drug,” they are barred from owning, possessing, or controlling “any firearm or

 ammunition therefor” under Hawaiʻi law. HRS § 134-7(b). The same may result

 if Plaintiffs “[are] or ha[ve] been under treatment or counseling for addiction to,

 abuse of, or dependence upon any dangerous, harmful, or detrimental drug,

 intoxicating compound as defined in section 712-1240, or intoxicating liquor[.]”

 HRS § 134-7(c).

       In their Complaint, all Plaintiffs allege is that they are “law-abiding,”

 Complaint at ¶ 2, with no clear allegation that they are permitted to own or possess

 a firearm under federal and state law. As a result, it is not at all clear on this record

 that Plaintiffs’ alleged injury—i.e., their inability to “acquire, keep, bear and/or

 transfer” firearms “[b]anned” by HRS § 134-8(a), Complaint at ¶ 13—would be

 remedied if they prevailed in this lawsuit. If Plaintiffs are barred from owning or

 possessing a firearm under either federal or state law, the relief sought in this case

 would make no difference—there would be no “change in a legal status as a

 consequence of a favorable decision[,]” Novak, 795 F.3d at 1019 (internal

 quotation marks and citation omitted), and the exercise of this Court’s power


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 “would be gratuitous and thus inconsistent with the Art. III limitation[,]” Simon,

 426 U.S. at 38; cf. Brown v. Shoe, 703 F. App’x 665, 667 (10th Cir. 2017) (“[The

 plaintiff’s] injury would not be redressed by a favorable judicial decision: Even if

 he prevails here, he could not lawfully purchase a firearm because . . . he is a

 convicted felon and . . . federal law prohibits convicted felons from possessing

 firearms. . . . Thus, even if [the plaintiff] prevails here, he could not lawfully

 purchase a firearm. In these circumstances, [the plaintiff’s] alleged injury, denial

 of the right to purchase a firearm, is not redressable even if the court were to rule

 in his favor.”); Kimelman v. Garland, No. CV 21-675 (TJK), 2022 WL 621401, at

 *3 (D.D.C. Mar. 3, 2022) (“[B]ecause New York law would still prohibit [the

 plaintiff] from purchasing or possessing firearms no matter how the Court resolves

 his claims, he has not shown that a favorable decision would redress his inability to

 do so.”); Daogaru v. Lynch, No. 1:16-CV-922-CAP, 2016 WL 9053352, at *2

 (N.D. Ga. July 27, 2016) (plaintiff’s alleged injury to his constitutional right to

 bear arms under federal law not redressable where state law “independently bars

 him from possessing a firearm”). Because Plaintiffs’ Complaint fails to show that

 it is “likely, as opposed to merely speculative, that [Plaintiffs’ alleged] injury

 [under HRS § 134-8(a)] will be redressed by a favorable decision,” Novak, 795




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 F.3d at 1019, Plaintiffs lack standing and their claim as to HRS § 134-8(a) must be

 dismissed. 6

                                    CONCLUSION

       For the foregoing reasons, Defendant respectfully requests that this Court

 dismiss the Complaint for lack of jurisdiction because Plaintiffs have failed to

 establish Article III standing or ripeness.

       DATED: Honolulu, Hawai‘i, October 28, 2022.



                                         /s/ Kalikoʻonālani D. Fernandes
                                         JOHN H. PRICE
                                         KIMBERLY T. GUIDRY
                                         KALIKO‘ONĀLANI D. FERNANDES
                                         NICHOLAS M. MCLEAN
                                         DAVID D. DAY

                                         Attorneys for Defendant HOLLY
                                         SHIKADA, in her official capacity as
                                         Attorney General for the State of Hawai‘i




 6
   On all claims, Plaintiff NAGR is no better situated for standing purposes than the
 individual Plaintiffs. NAGR appears in this lawsuit “in its capacity as a
 representative of its members,” Complaint at ¶ 1, and has “standing to sue on
 behalf of [its] members only if . . . [its] members would otherwise have standing to
 sue in their own right[,]” San Diego Cnty. Gun Rts., 98 F.3d at 1130. Because
 NAGR relies on the same feeble allegations in the Complaint, it has not established
 that any of its members have standing, and therefore fails to demonstrate its own
 standing. See, e.g., id.

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